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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Case No. 3:20-cr-07

JUDGE KIM R. GIBSON
TAMMIE BROLIN,

Defendant.

TENTATIVE FINDINGS AND RULINGS

ee BR eS

NOW, this a day of February, 2023, the United States Probation Office
having conducted a presentence investigation and submitted a Presentence Investigation
Report (“PSR”) (ECF No. 1857) and an addendum to the PSR (ECF No. 1899), and the
United States and Defendant having filed position papers with respect to sentencing
factors (ECF Nos. 1860, 1877), the Court now makes the following amended tentative

findings and rulings:

1. On September 26, 2022, Defendant pleaded guilty to Count Two of the
Superseding Indictment. (ECF No. 1771).

2. On December 6, 2022, the United States Probation Office filed a draft PSR. (ECF
No. 1839).

3. On December 27, 2022, the United States Probation Office filed the final PSR. (ECF
No. 1857).

4. On December 27, 2022, the United States Probation Office filed a
Recommendation. (ECF No. 1858).

5. On December 28, 2022, the United States filed its position with respect to
sentencing factors, stating that it adopted the PSR. (ECF No. 1860).

6. On January 5, 2023, Defendant filed her position with respect to sentencing factors,
stating that she has no objections to the PSR. (ECF No. 1877).
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7. On January 12, 2023, the United States Probation Office filed an addendum to the
PSR, stating that neither the United States nor Defendant had any objections to the
PSR. (ECF No. 1889).

8. The Court tentatively adopts the PSR. Arguments as to departures and variances

from the guidelines will be considered at the time of sentencing.

BY THE COURT:

  

 

KIM R. GIBSON
UNITED STATES DISTRICT JUDGE
